Case 9:12-cr-00027-RC-ZJH Document 504 Filed 09/11/20 Page 1 of 2 PageID #: 2035




                           **NOT FOR PRINTED PUBLICATION**

                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

 UNITED STATED OF AMERICA                         §
                                                  §
                                                  § CASE NUMBER 9:12-CR-27-2-RC
 v.                                               §
                                                  §
                                                  §
                                                  §
 CEDRICK FOWLER                                   §

      ORDER ACCEPTING REPORT AND RECOMMENDATION OF UNITED STATES
          MAGISTRATE JUDGE ON DEFENDANT’S MOTION FOR RELEASE

         The court referred Defendant’s Motion for Release from Custody due to COVID-19

 (Doc. No. 496) to United States Magistrate Judge Zack Hawthorn for consideration pursuant to

 applicable laws and orders of this court.

         After review and consideration of Fowler’s motion, Judge Hawthorn issued a Report and

 Recommendation on May 21, 2020, denying Fowler’s motion because he failed to exhaust his

 administrative remedies, and did not meet the criteria for compassionate release. (Doc. No. 497.)

 Fowler received Judge Hawthorn’s report and recommendation on June 1, 2020. (Doc. No. 499.)

 On June 15, 2020, Fowler filed a motion to extend his deadline to file objections, and Judge

 Hawthorn extended his deadline to July 9, 2020. (Doc. No. 500.) Fowler received the order

 granting him an extension to file objections on June 24, 2020. (Doc. No. 502.) On July 17,

 2020, Fowler filed a “notice” with the court stating that he is still awaiting his BP-9 form to

 come back in order for his remedies to be exhausted. (Doc. No. 503.) To date, no other filings

 have been made.



                                                1
Case 9:12-cr-00027-RC-ZJH Document 504 Filed 09/11/20 Page 2 of 2 PageID #: 2036




        The court conducted a de novo review pursuant to FED. R. CIV. P. 72(b)(3) and 28 U.S.C.

 § 636(b)(1)(C) of the pending motion, the record, and the applicable law. In Fowler’s motion to

 extend his deadline and notice, he states that he is still awaiting BOP forms, his medical history

 includes seizures, and there are over 330 cases of COVID-19 at the facility. (Doc. No. 500,

 503.) Taking these statements as true and considering them objections, and assuming Fowler

 properly exhausted his administrative remedies, he still does not meet the criteria for

 compassionate release. Therefore, the court finds Fowler’s objections have no merit and Judge

 Hawthorn’s findings are correct.

        Accordingly, the court OVERRULES the Defendant’s Objections (Doc. No. 500, 503),

 ACCEPTS Judge Hawthorn’s Report and Recommendation (Doc. No. 497) and DENIES the

 Defendant’s Motion for Compassionate Release due to COVID-19 (Doc. No. 496).

                So ORDERED and SIGNED, Sep 11, 2020.


                                                                  ____________________
                                                                  Ron Clark
                                                                  Senior Judge




                                                 2
